                                                                                                                                                                                                                                                                                                                                                                                            Case 1:21-cv-01032-PAE Document 78-1 Filed 05/18/22 Page 1 of 3


                                              eps_lst_u                                                                                                                                                                                                                                                                                                                                                                deployme                                                                                                                                                                                          remaining remaining                                                                                                                                                                    alternate_ alternate_
                                              pd_by_ru                                email_add                                          order_stat payment_                                                                                                                                                                    card_hold payment_ referral_n referral_d           exchange ext_paym ext_paym deployme nt_item_i                                                  began_charging_from_d auto_rene price_con content_i content_t                             bundle_sk                   promo_n promo_pl _inst_nu _ppv_nu bill_price_                                      state_tax_ county_ta city_tax_r discount_ tax_jur_p tax_jur_st tax_jur_c tax_jur_ci                       ip_postal_ key_origin key_curre
eps_crtd_by_run_id   eps_lst_upd_dt           n_id      email_id   last_nm   language r         sub_type order_id    order_dt            us         curcy    ip_addr     neulion_cust_id   username                frst_signup_dt first_mn   order_country free_trial_days purch_device_type due_amt paid_amt payment_method_id er_nm     type     m          t          order_ref _rate    ent_type ent_txnid nt_id   d         sub_valid_start_dt      sub_valid_end_dt         t                     w         tract_id d          ype       prod_nm prod_type sku       u         region   promo_id m       an       m         m         amt      tax_amt       tax_rate    tax_type   rate       x_rate    ate        amt       ostal_cd ate         ountry    ty         ip_state    ip_city   cd         al         nt         eps_crtd_dt         year          month

                                                                  dc937b59            4a6a4308                                                                                                                                    dc937b59                                                                                      be4b6077            dc937b59
                                                                  892604f5            0d182c98                                                                                                                                    892604f5                                                                                      04ba0fa4            892604f5
                                                                  a86ac969            1642a862                                                                                                                                    a86ac969                                                                                      2a758f9f7           a86ac969                                                                                                                                                                                  GAME
                                                                  36cd7ff09           09b74d37                                                                                                                                    36cd7ff09                                                                                     bb1a0e4a            36cd7ff09                                                                                                                                                                                 PASS
                                                                  e25f18ae            7be70313                                                                                                                                    e25f18ae                                                                                      e8ddd667            e25f18ae                                                                                                                                                                                  SEASON
                                                                  6b758e80            0358668a                                                                                            4bebf8d38c78517632444c                  6b758e80                                                                                      0077e77a            6b758e80                                                                                                                                                                                  PLUS                                                                                                                                                                                                                                                               20140521 20140521
                                                                  14a24c7fa           e34f0c91c SUBSCRIP                                                     101.174.1                    f7e686820897f7b42167b4                  14a24c7fa                                                                                     9ec978b7            14a24c7fa                                                                                                                                                                                 SUBSCRIP GAME_PA SEASON_                                                                                                                                                                                                                                           :00087:00 :00087:00
2014‐05‐21:ELT_I              5/23/2014 0:00 ELT_I          1E+12 039e91    None      6860b80 TION         1784330          9/9/2013 0:00 None     AUD       73.139                861709 49b672b3ee235fd44d23      9/9/2013 0:00 039e91    AU                          WEB                 204.99    204.99            1451166 26f3295 AMEX        039e91              None       None    None      None       1783463   1931890        9/9/2013 0:00            8/1/2014 0:00           9/9/2013 0:00 YES           1926          None      TION     SS      PLUS    None           ROW               None     None             0        0    204.99 None         None        None       None      None       None               0 None      None       None      None       None        None      None        0404898 0404898         5/23/2014 0:00          2014           5

                                                                  dc937b59            4a6a4308                                                                                                                                    dc937b59                                                                                      be4b6077            dc937b59
                                                                  892604f5            0d182c98                                                                                                                                    892604f5                                                                                      04ba0fa4            892604f5
                                                                  a86ac969            1642a862                                                                                                                                    a86ac969                                                                                      2a758f9f7           a86ac969                                                                                                                                                                                  GAME
                                                                  36cd7ff09           09b74d37                                                                                                                                    36cd7ff09                                                                                     bb1a0e4a            36cd7ff09                                                                                                                                                                                 PASS
                                                                  e25f18ae            7be70313                                                                                                                                    e25f18ae                                                                                      e8ddd667            e25f18ae                                                                                                                                                                                  SEASON
                                                                  6b758e80            0358668a                                                                                            4bebf8d38c78517632444c                  6b758e80                                                                                      0077e77a            6b758e80                                                                                                                                                                                  PLUS                                                                                                                                                                                                                                                               20140802 20140802
                                                                  14a24c7fa           e34f0c91c AUTOREN                                                      101.174.1                    f7e686820897f7b42167b4                  14a24c7fa                                                                                     9ec978b7            14a24c7fa                                                                                                                                                                                 SUBSCRIP GAME_PA SEASON_                                                                                                                                                                                                                                           :00087:00 :00087:00
2014‐08‐02:ELT_I                8/4/2014 0:00 ELT_I         1E+12 039e91    None      6860b80 EW           2294540          8/1/2014 0:00 None     AUD       73.139                861709 49b672b3ee235fd44d23      9/9/2013 0:00 039e91    AU                          WEB                 214.99    214.99            1451166 26f3295 AMEX        039e91              None       None    None      None       2252644   2447493        8/1/2014 0:00            8/1/2015 0:00           8/1/2014 0:00 YES           2559          None      TION     SS      PLUS    None           ROW               None     None             0        0    214.99 None         None        None       None      None       None               0 None      None       None      None       None        None      None        0090453 0090453          8/4/2014 0:00          2014           8

                                                                  dc937b59            4a6a4308                                                                                                                                    dc937b59                                                                                      be4b6077            dc937b59
                                                                  892604f5            0d182c98                                                                                                                                    892604f5                                                                                      04ba0fa4            892604f5
                                                                  a86ac969            1642a862                                                                                                                                    a86ac969                                                                                      2a758f9f7           a86ac969                                                                                                                                                                                  GAME
                                                                  36cd7ff09           09b74d37                                                                                                                                    36cd7ff09                                                                                     bb1a0e4a            36cd7ff09                                                                                                                                                                                 PASS
                                                                  e25f18ae            7be70313                                                                                                                                    e25f18ae                                                                                      e8ddd667            e25f18ae                                                                                                                                                                                  SEASON
                                                                  6b758e80            0358668a                                                                                            4bebf8d38c78517632444c                  6b758e80                                                                                      0077e77a            6b758e80                                                                                                                                                                                  PLUS                                                                                                                                                                                                                                                               20150808 20150808
                                                                  14a24c7fa           e34f0c91c AUTOREN                                                      101.174.1                    f7e686820897f7b42167b4                  14a24c7fa                                                                                     9ec978b7            14a24c7fa                                                                                                                                                                                 SUBSCRIP GAME_PA SEASON_                                                                                                                                                                                                                                           :00087:00 :00087:00
2015‐08‐08:ELT_I                8/8/2015 0:00 ELT_I         1E+12 039e91    None      6860b80 EW           3093191          8/7/2015 0:00 None     AUD       73.139                861709 49b672b3ee235fd44d23      9/9/2013 0:00 039e91    AU                          WEB                 254.99    254.99            1451166 26f3295 AMEX        039e91              None       None    None      None       3086941   3463171        8/7/2015 0:00            8/1/2016 0:00           8/7/2015 0:00 YES           3188          None      TION     SS      PLUS    None           ROW               None     None             0        0    254.99 None         None        None       None      None       None               0 None      None       None      None       None        None      None        0030318 0030318          8/8/2015 0:00          2015           8

                                                                  dc937b59            4a6a4308                                                                                                                                    dc937b59                                                                                      be4b6077            dc937b59
                                                                  892604f5            0d182c98                                                                                                                                    892604f5                                                                                      04ba0fa4            892604f5
                                                                  a86ac969            1642a862                                                                                                                                    a86ac969                                                                                      2a758f9f7           a86ac969                                                                                                                                                                                  GAME
                                                                  36cd7ff09           09b74d37                                                                                                                                    36cd7ff09                                                                                     bb1a0e4a            36cd7ff09                                                                                                                                                                                 PASS
                                                                  e25f18ae            7be70313                                                                                                                                    e25f18ae                                                                                      e8ddd667            e25f18ae                                                                                                                                                                                  SEASON
                                                                  6b758e80            0358668a                                                                                            4bebf8d38c78517632444c                  6b758e80                                                                                      0077e77a            6b758e80                                                                                                                                                                                  PLUS                                                                                                                                                                                                                                                               20160806 20160806
                                                                  14a24c7fa           e34f0c91c AUTOREN                                                      101.174.1                    f7e686820897f7b42167b4                  14a24c7fa                                                                                     9ec978b7            14a24c7fa                                                                                                                                                                                 SUBSCRIP GAME_PA SEASON_                                                                                                                                                                                                                                           :00087:00 :00087:00
2016‐08‐06:ELT_I                8/6/2016 0:00 ELT_I         1E+12 039e91    None      6860b80 EW           3556449          8/5/2016 0:00 None     AUD       73.139                861709 49b672b3ee235fd44d23      9/9/2013 0:00 039e91    AU                          WEB                 264.99    264.99            1451166 26f3295 AMEX        039e91              None       None    None      None       3498632   3950659        8/5/2016 0:00            8/1/2017 0:00           8/5/2016 0:00 YES           3317          None      TION     SS      PLUS    None           ROW               None     None             0        0    264.99 None         None        None       None      None       None               0 None      None       None      None       None        None      None        0034809 0034809          8/6/2016 0:00          2016           8

                                                                  dc937b59            4a6a4308                                                                                                                                   dc937b59                                                                                       dc937b59            dc937b59
                                                                  892604f5            0d182c98                                                                                                                                   892604f5                                                                                       892604f5            892604f5
                                                                  a86ac969            1642a862                                                                                                                                   a86ac969                                                                                       a86ac969            a86ac969
                                                                  36cd7ff09           09b74d37                                                                                                                                   36cd7ff09                                                                                      36cd7ff09           36cd7ff09
                                                                  e25f18ae            7be70313                                                                                                                                   e25f18ae                                                                                       e25f18ae            e25f18ae
                                                                  6b758e80            0358668a                                            ORDER_C                                         dc937b59892604f5a86ac9                 6b758e80                                                                                       6b758e80            6b758e80                                                                                                                                                                        BUNDLE_                                                                                                                                                                                                                                                                      20170911 20170911
                                                                  14a24c7fa           e34f0c91c SUBSCRIP                                  OMPLETE            144.139.4                    6936cd7ff09e25f18ae6b75                14a24c7fa                                                                                      14a24c7fa           14a24c7fa                                                                                                                                           NOT_SPE                     PURCHAS SEASON                                                                                                                                                                                                                                                               :00087:00 :00087:00
2017‐09‐11:ELT_I              9/11/2017 0:00 ELT_I          1E+12 039e91    None      6860b80 TION         4784602        9/10/2017 14:47 D       AUD        3.240                 861709 8e8014a24c7fa039e91     9/9/2013 22:04 039e91    AU                         7 WEB                      0         0                    039e91    None      039e91              EGAE3JEB    1.39391 None     None       4599029   5050023      9/10/2017 14:47            8/1/2018 0:00          9/17/2017 0:00 CIFIED           1         1E       PLUS PASS None        ISEASON   ISEASON   MID               None     None             0        0    279.99          0              0 None      None      None       None               0 None      None       None      None                  2 SYDNEY          1001 0005573 0005573         9/11/2017 0:00          2017           9

                                                                  dc937b59            4a6a4308                                                                                                                                dc937b59                                                                                          4609fd6cc           dc937b59
                                                                  892604f5            0d182c98                                                                                                                                892604f5                                                                                          821cbe53            892604f5
                                                                  a86ac969            1642a862                                                                                                                                a86ac969                                                                                          aec6431b            a86ac969
                                                                  36cd7ff09           09b74d37                                                                                                                                36cd7ff09                                                                                         67e463d0            36cd7ff09
                                                                  e25f18ae            7be70313                                                                                                                                e25f18ae                                                                                          398c5579            e25f18ae
                                                                  6b758e80            0358668a                                            ORDER_C                                         4bebf8d38c78517632444c              6b758e80                                                                                          417c9628            6b758e80                                                                                                                                                                        BUNDLE_                                                                                                                                                                                                                                                                      20180802 20180802
                                                                  14a24c7fa           e34f0c91c SUBSCRIP                                  OMPLETE            144.139.4                    f7e686820897f7b42167b4              14a24c7fa                                                                                         2b799fd1            14a24c7fa                                                                                                                                           NOT_SPE                     PURCHAS SEASON                                                                                                                                                                                                                                                               :00087:00 :00087:00
2018‐08‐02:ELT_I                8/2/2018 0:00 ELT_I         1E+12 039e91    None      6860b80 TION         5283382         8/1/2018 12:48 D       AUD        3.240                 861709 49b672b3ee235fd44d23 9/9/2013 22:04 039e91    AU                              WEB                 274.99    274.99            3923880 9691ff1 VISA        039e91              G2P8INB6   1.360897 None     None       4925752   5395612       8/1/2018 12:48            8/1/2019 0:00           8/1/2018 0:00 CIFIED           1         1E       PLUS        None      ISEASON   ISEASON   MID               None     None             0        0    274.99          0              0 None      None      None       None               0 None      None       None      None       None        None      None        0000926 0000926          8/2/2018 0:00          2018           8
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                                                                                                                                                                                                                                   deployme                                                                                                                                                                              remaining remaining                                                                                                                                                                                                                                                                   external_ external_ tax_jurisdi tax_jurisdi tax_jurisdi                                                                                                                                                       eps_lst_u
neulion_c                                                                       email_add                                                                           payment_               order_cou free_trial_ purch_de deployme nt_item_i                                                            auto_rene price_con content_i content_t                             bundle_sk                   promo_n promo_pl _inst_nu _ppv_nu bill_price_                                         state_tax_ county_ta city_tax_r                                payment_                                                                                       payment_ referral_n referral_cl           exchange payment_ payment_ ction_pos ction_stat ction_cou tax_jurisdi                                                                                                                                                  pd_by_ru
ust_id    username frst_signup_dt             first_mn     last_nm     language r         charge_dt    paid_dt          charge_id sub_type order_id   order_dt      curcy    ip_addr       ntry      days        vice_type nt_id   d         sub_valid_start_dt sub_valid_end_dt began_charging_from_dt w         tract_id d          ype       prod_nm prod_type sku       u         region   promo_id m       an       m         m         amt      tax_amt       tax_rate       tax_type   rate       x_rate    ate        discout       due_amt paid_amt id       payment_method_id card_holder_nm                                                      type     m          ick_dt      order_ref _rate    type      txnid     tal_cd      e           nty         ction_city ip_state    ip_city   ip_postal_code alternate_key_original   alternate_key_current     eps_crtd_dt    eps_crtd_by_run_id eps_lst_upd_dt   n_id      email_id    year          month

         dc937b59                              dc937b59    dc937b59             4a6a4308                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              dc937b59
         892604f5                              892604f5    892604f5             0d182c98                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              892604f5
         a86ac969                              a86ac969    a86ac969             1642a862                                48448835‐                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     a86ac969
         36cd7ff09                             36cd7ff09   36cd7ff09            09b74d37                                1223‐                                                                                                                                                                                                                                                                                                                                                                                                                                 2761BA76‐                                                                                               36cd7ff09
         e25f18ae                              e25f18ae    e25f18ae             7be70313                                48B1‐                                                                                                                                                                                                                                                                                                                                                                                                                                 75D9‐                                                                                                   e25f18ae
         6b758e80                              6b758e80    6b758e80             0358668a                                9C7D‐                                                                                                                                                                                                      BUNDLE_                                                                                                                                                                                                                    4F97‐BF95‐                                                                                              6b758e80
         14a24c7fa                             14a24c7fa   14a24c7fa            e34f0c91c                               16B99169 SUBSCRIP                                                                                                                                                              NOT_SPEC                    PURCHAS SEASON                                                                                                                                                                                                             00A0147B                                                                                                14a24c7fa
  861709 039e91                 9/9/2013 22:04 039e91      039e91               6860b80 9/17/2017 0:00 9/17/2017 0:00   1355      TION       4784602 9/10/2017 14:47 AUD     144.139.43.240 AU               7 WEB        4599029   5050023   9/10/2017 14:47    8/1/2018 0:00          9/17/2017 0:00 IFIED            1         1E       PLUS PASS              ISEASON   ISEASON   MID                                         0        0    279.99          0              0                                                        0     279.99   279.99 17DB               3923880 4609fd6cc821cbe53aec6431b67e463d0398c5579417c96282b799fd19691ff1   VISA      039e91                EGAE3JEB     1.39391                                                                             2 SYDNEY             1001 20170918:00090:000004136 20170918:00090:000004136 9/18/2017 0:00 2017‐09‐18:ELT_I      9/18/2017 0:00 ELT_I         1E+12          2017           9
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                                                                                                                                                                                               deployme                                                                                                                                                          remaining remaining                                                                                                failed_pay                                                                 alternate_ alternate_                                               eps_lst_
neulion_c                                                                  email_add                                                payment_           order_cou free_trial_ purch_de deployme nt_item_i                                                                            price_con content_i content_t                             bundle_sk          _inst_nu _ppv_nu terminatio                                                                             failed_pay ment_des referral_n referral_cl                                 ip_postal_ key_origin key_curre                    eps_crtd_                   upd_by
ust_id    username frst_signup_dt        first_mn     last_nm     language r         sub_type order_id    order_dt                  curcy    ip_addr   ntry      days        vice_type nt_id   d         sub_valid_start_dt sub_valid_end_dt began_charging_from_dt auto_renew      tract_id d          ype       prod_nm prod_type sku       u         region   m         m         n_cds   temination_comment                                           termination_dt ment_cd c             m        ick_dt      order_ref ip_state    ip_city   cd         al         nt         eps_crtd_dt       by_run_id eps_lst_upd_dt    _run_id email_id        year          month

         4bebf8d3                         dc937b59    dc937b59             4a6a4308                                                                                                                                                                                                                                                                                                                                                                                                           dc937b59
         8c785176                         892604f5    892604f5             0d182c98                                                                                                                                                                                                                                                                                                                                                                                                           892604f5
         32444cf7e                        a86ac969    a86ac969             1642a862                                                                                                                                                                                                                             GAME                                                                                                                                                                          a86ac969
         68682089                         36cd7ff09   36cd7ff09            09b74d37                                                                                                                                                                                                                             PASS                                                                                                                                                                          36cd7ff09
         7f7b4216                         e25f18ae    e25f18ae             7be70313                                                                                                                                                                                                                             SEASON                                                                                                                                                                        e25f18ae
         7b449b67                         6b758e80    6b758e80             0358668a                                                                                                                                                                                                                             PLUS                                                                                                                                                                          6b758e80                                                        20140802 20140802
         2b3ee235                         14a24c7fa   14a24c7fa            e34f0c91c SUBSCRIP                                                101.174.1                                                                                                                                                          SUBSCRIP GAME_PA SEASON_P                                                                                                                                                     14a24c7fa                                                       :00089:00 :00089:00                       2014‐08‐
  861709 fd44d23            9/9/2013 0:00 039e91      039e91               6860b80 TION         1784330                9/9/2013 0:00 AUD     73.139    AU                 WEB         1783463   1931890      9/9/2013 0:00    8/1/2014 0:00           9/9/2013 0:00 YES                 1926                    TION     SS      LUS                    ROW             0         0                                                                                                           039e91                                                          0107369 0107369             8/4/2014 0:00 02:ELT_I     8/4/2014 0:00 ELT_I     1.00006E+12          2014           8

         4bebf8d3                         dc937b59    dc937b59             4a6a4308                                                                                                                                                                                                                                                                                                                                                                                                           dc937b59
         8c785176                         892604f5    892604f5             0d182c98                                                                                                                                                                                                                                                                                                                                                                                                           892604f5
         32444cf7e                        a86ac969    a86ac969             1642a862                                                                                                                                                                                                                             GAME                                                                                                                                                                          a86ac969
         68682089                         36cd7ff09   36cd7ff09            09b74d37                                                                                                                                                                                                                             PASS                                                                                                                                                                          36cd7ff09
         7f7b4216                         e25f18ae    e25f18ae             7be70313                                                                                                                                                                                                                             SEASON                                                                                                                                                                        e25f18ae
         7b449b67                         6b758e80    6b758e80             0358668a                                                                                                                                                                                                                             PLUS                                                                                                                                                                          6b758e80                                                        20150809 20150809
         2b3ee235                         14a24c7fa   14a24c7fa            e34f0c91c AUTOREN                                                 101.174.1                                                                                                                                                          SUBSCRIP GAME_PA SEASON_P                                                                                                                                                     14a24c7fa                                                       :00089:00 :00089:00                       2015‐08‐
  861709 fd44d23            9/9/2013 0:00 039e91      039e91               6860b80 EW           2294540                8/1/2014 0:00 AUD     73.139    AU                 WEB         2252644   2447493      8/1/2014 0:00    8/8/2015 0:00           8/1/2014 0:00 YES                 2559                    TION     SS      LUS                    ROW             0         0                                                                                                           039e91                                                          0120885 0120885             8/9/2015 0:00 09:ELT_I     8/9/2015 0:00 ELT_I     1.00006E+12          2015           8

         4bebf8d3                         dc937b59    dc937b59             4a6a4308                                                                                                                                                                                                                                                                                                                                                                                                           dc937b59
         8c785176                         892604f5    892604f5             0d182c98                                                                                                                                                                                                                                                                                                                                                                                                           892604f5
         32444cf7e                        a86ac969    a86ac969             1642a862                                                                                                                                                                                                                             GAME                                                                                                                                                                          a86ac969
         68682089                         36cd7ff09   36cd7ff09            09b74d37                                                                                                                                                                                                                             PASS                                                                                                                                                                          36cd7ff09
         7f7b4216                         e25f18ae    e25f18ae             7be70313                                                                                                                                                                                                                             SEASON                                                                                                                                                                        e25f18ae
         7b449b67                         6b758e80    6b758e80             0358668a                                                                                                                                                                                                                             PLUS                                                                                                                                                                          6b758e80                                                        20160807 20160807
         2b3ee235                         14a24c7fa   14a24c7fa            e34f0c91c AUTOREN                                                 101.174.1                                                                                                                                                          SUBSCRIP GAME_PA SEASON_P                                                                                                                                                     14a24c7fa                                                       :00089:00 :00089:00                       2016‐08‐
  861709 fd44d23            9/9/2013 0:00 039e91      039e91               6860b80 EW           3093191                8/7/2015 0:00 AUD     73.139    AU                 WEB         3086941   3463171      8/7/2015 0:00    8/6/2016 0:00           8/7/2015 0:00 YES                 3188                    TION     SS      LUS                    ROW             0         0                                                                                                           039e91                                                          0005168 0005168             8/7/2016 0:00 07:ELT_I     8/7/2016 0:00 ELT_I     1.00006E+12          2016           8

         dc937b59                         dc937b59    dc937b59             4a6a4308                                                                                                                                                                                                                                                                                                                                                                                                           dc937b59
         892604f5                         892604f5    892604f5             0d182c98                                                                                                                                                                                                                                                                                                                                                                                                           892604f5
         a86ac969                         a86ac969    a86ac969             1642a862                                                                                                                                                                                                                                                                                                                                                                                                           a86ac969
         36cd7ff09                        36cd7ff09   36cd7ff09            09b74d37                                                                                                                                                                                                                                                                                                                                                                                                           36cd7ff09
         e25f18ae                         e25f18ae    e25f18ae             7be70313                                                                                                                                                                                                                                                                                                                                                                                                           e25f18ae
         6b758e80                         6b758e80    6b758e80             0358668a                                                                                                                                                                                                                   BUNDLE_                                                                                                                                                                                 6b758e80                                                        20170802 20170802
         14a24c7fa                        14a24c7fa   14a24c7fa            e34f0c91c SUBSCRIP                                                101.174.1                                                                                                                                                PURCHAS SEASON                                                                                                                                                                          14a24c7fa                                                       :00089:00 :00089:00                       2017‐08‐
  861709 039e91            9/9/2013 22:04 039e91      039e91               6860b80 TION         3556449                8/5/2016 7:13 AUD     73.139    AU                 WEB         3498632   3950659      8/5/2016 0:00    8/1/2017 0:00           8/5/2016 0:00 YES                    1         1E       PLUS PASS             ISEASON   ISEASON                   0         0                                                                                                           039e91                35564493                                  0245500 0245500             8/3/2017 0:00 02:ELT_I     8/3/2017 0:00 ELT_I     1.00006E+12          2017           8

         4bebf8d3                         dc937b59    dc937b59             4a6a4308                                                                                                                                                                                                                                                                                                                                                                                                           dc937b59
         8c785176                         892604f5    892604f5             0d182c98                                                                                                                                                                                                                                                                                                                                                                                                           892604f5
         32444cf7e                        a86ac969    a86ac969             1642a862                                                                                                                                                                                                                                                                                                                                                                                                           a86ac969
         68682089                         36cd7ff09   36cd7ff09            09b74d37                                                                                                                                                                                                                                                                                                                                                                                                           36cd7ff09
         7f7b4216                         e25f18ae    e25f18ae             7be70313                                                                                                                                                                                                                                                                                                                                                                                                           e25f18ae
         7b449b67                         6b758e80    6b758e80             0358668a                                                                                                                                                                                                                   BUNDLE_                                                                                                                                                                                 6b758e80                                                        20180802 20180802
         2b3ee235                         14a24c7fa   14a24c7fa            e34f0c91c SUBSCRIP                                                144.139.4                                                                                                                                                PURCHAS SEASON                                                               SCR_OTHE                                                                                                   14a24c7fa                                                       :00089:00 :00089:00                       2018‐08‐
  861709 fd44d23           9/9/2013 22:04 039e91      039e91               6860b80 TION         4784602              9/10/2017 14:47 AUD     3.240     AU                7 WEB        4599029   5050023    9/10/2017 14:47   8/1/2018 12:54          9/17/2017 0:00 NO                     1         1E       PLUS                  ISEASON   ISEASON   MID             0         0R        CANCELLED SERVICE:SUCCESSFUL AUTO RENEWAL 2018                8/1/2018 12:54                      039e91               EGAE3JEB              2 SYDNEY        1001 0008111 0008111             8/2/2018 0:00 02:ELT_I     8/2/2018 0:00 ELT_I     1.00006E+12          2018           8

         4bebf8d3                         dc937b59    dc937b59             4a6a4308                                                                                                                                                                                                                                                                                                                                                                                                           dc937b59
         8c785176                         892604f5    892604f5             0d182c98                                                                                                                                                                                                                                                                                                                                                                                                           892604f5
         32444cf7e                        a86ac969    a86ac969             1642a862                                                                                                                                                                                                                                                                                                                                                                                                           a86ac969
         68682089                         36cd7ff09   36cd7ff09            09b74d37                                                                                                                                                                                                                                                                                                                                                                                                           36cd7ff09
         7f7b4216                         e25f18ae    e25f18ae             7be70313                                                                                                                                                                                                                                                                                                                                                                                                           e25f18ae
         7b449b67                         6b758e80    6b758e80             0358668a                                                                                                                                                                                                                   BUNDLE_                                                                                                                                                                                 6b758e80                                                        20190802 20190802
         2b3ee235                         14a24c7fa   14a24c7fa            e34f0c91c SUBSCRIP                                                144.139.4                                                                                                                                                PURCHAS SEASON                                                                SCR_EXPI                                                                                                  14a24c7fa                                                       :00089:00 :00089:00                       2019‐08‐
  861709 fd44d23           9/9/2013 22:04 039e91      039e91               6860b80 TION         5283382               8/1/2018 12:48 AUD     3.240     AU                 WEB         4925752   5395612     8/1/2018 12:48    8/1/2019 0:00           8/1/2018 0:00 NOT_SPECIFIED          1         1E       PLUS                  ISEASON   ISEASON   MID             0         0 RED      CANCELLED SERVICE: TERMINATED FOR EXPIRATION ON 08/01/2019    8/1/2019 4:30                      039e91               G2P8INB6                                   0125592 0125592             8/2/2019 0:00 02:ELT_I     8/2/2019 0:00 ELT_I     1.00006E+12          2019           8
